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                  EXHIBIT A
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   NH VICAR CHANGES DOGMA INTO HERESY
   NEWS: US NEWS (/SEARCH/CATEGORY/246/US-NEWS)




   by Church Militant
   (https://www.churchmilitant.com/news/author/newschurchmilitant.com) •
   ChurchMilitant.com • January 17, 2019 205 Comments


   Fr. Georges de Laire cracks down on Saint Benedict Center


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https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                        1/51

                                                                                                                    CM0042
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   In a disturbing turn of events, a chancery o cial of the diocese of Manchester, New Hampshire




                                                                               ffi
   has changed a solemnly de ned dogma of the Faith into a heresy.




                                                 fi
                                                      Georges de Laire



   Father Georges de Laire, appointed by Bp. Peter Libasci as
   judicial vicar and vicar for canonical a airs, timed his actions to

                                                                  ff
   coincide with his bishop departing for Chicago to do penance for
   abusive priests. On Jan. 7, he struck.

   In an undated text, the o cial imposed a series of 15 "precepts"
                                           ffi
   upon the members of the Saint Benedict Center
   (https://catholicism.org/), a community of devout lay women and
   men devoted to spreading the Church's o cial teaching on the
                                                                         ffi
   need for all souls to join the Church in order to be saved.
   Without any evidence, the vicar asserts in his letter that his
   "precepts" are being imposed "at the direction" of the Vatican's
   Congregation for the Doctrine of the Faith.

   The 15 precepts range from a prohibition to identifying themselves as "Catholic" to even
   "presenting" any doctrines of the Roman Catholic Church.

   In November 1302, in what the historian Brian Tierney calls one of "the most famous of all the
   documents on church and state" titled Unam Sanctam ("One Holy"), Pope Boniface VIII,
   invoking the plenitude of his apostolic power, de ned the ancient doctrine Extra Ecclesiam
                                                                                     fi
   Nulla Salus — "outside the Church there is no salvation." This teaching was raised by him to the
   level of a solemnly de ned dogma of divine and Catholic faith (De Fide Divina et Catholica
                                    fi
   Solemniter De nita).
                         fi
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                                                                                                                       CM0043
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   The Second Vatican Council and the current Catechism of the Catholic Church, in article 846,
   con rm that this most ancient of core teachings of the Church remains valid:
           fi
           Basing itself on Scripture and Tradition, the Council teaches that the Church, a
           pilgrim now on earth, is necessary for salvation: the one Christ is the mediator
           and the way of salvation; he is present to us in his body which is the Church. He
           himself explicitly asserted the necessity of faith and Baptism, and thereby
           a rmed at the same time the necessity of the Church which men enter through
                ffi
           Baptism as through a door. (Apostolic Constitution Lumen Gentium, 14)



   The lay faithful of the Saint Benedict Center deserve commendation for their hard work in
   spreading one of the most important doctrines of the gospel of the Lord Jesus Christ. Instead,
   they nd themselves persecuted by the vicar of Bishop Libasci.
                      fi
                                                           Manchester Bp. Peter Libasci



   What did the vicar of Manchester do?

                                                                                                                 (/donate)


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                                                                                                                 CM0044
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                                                                     Apart from o cially notifying them in writing and




                                                                                            ffi
                                                                     publicly, res inaudita ("a thing unheard of") that
                                                                     "a rmations of faith using the Athanasian Creed …




                                                                         ffi
                                                                     are invalid," and that the Professions of Faith
                                                                     employing the Athanasian Creed that were signed
                                                                     by the members of their community in 2009 are
                                                                     "null and void," the vicar warned that by remaining
                                                                     steadfast in their adherence to the dogma Extra
                                                                     Ecclesiam Nulla Salus, they have "persisted in their
                                                                     obstinacy," explicitly referencing canon 751 of the
                                                                     Code of Canon Law.

   This canon states: "Heresy is the obstinate denial or obstinate doubt after the reception of
   baptism of some truth which is to be believed by divine and Catholic faith."

   In layman's terms, the vicar of Manchester has publicly accused them of being obstinate
   heretics by publicly spreading their belief in the o cial teaching of the Church that outside the
                                                                               ffi
   Church there is no salvation. In the vicar's mind, the truth being denied by the members of the
   Saint Benedict Center is the heresy that is exactly opposed to the Church's dogma Extra
   Ecclesiam Nulla Salus: "outside the Church there is salvation." The vicar has changed dogma
   into heresy.

   De Laire is said by current work colleagues to be emotionally unstable in his role as chief
   canonical judge of the diocese and counselor to his bishop. Church Militant has learned that
   there is much more than meets the eye to his fresh attack upon a group of devout lay
   Catholics. De Laire is said to be desperate to repair his image and save his chances at being
   promoted as bishop or an o cial of the Roman Curia.
                                             ffi
   Church Militant has learned that in recent years, at least three complaints against de Laire have
   been led with the Holy See and made known to Libasci. Taken together they allege corruption,
            fi
   abuse of o ce, grave violations of the law, and incompetence as a canonist, even warning
                       ffi
   Vatican o cials that in no case should de Laire be named bishop. And these matters were
                 ffi
   entirely unrelated to the Saint Benedict Center.




   “
        Taken together they allege corruption,
        abuse of o ce, grave violations of the law,
                                                   ffi
   and incompetence as a canonist.
                                                                                                             Gab      Tweet
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                                                                                                                     CM0045
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   With incompetence in canonical matters also apparently well-known and corroborated in the
   Roman Curia, de Laire is nicknamed in those halls un incasinaro, "a troublemaker," owing to his
   notorious botching of canonical cases involving clergy and other matters. Multiple independent
   sources in the Roman Curia say he has repeatedly botched diocesan cases and embarrassed
   his bishop before the Roman congregations of the Curia.

   De Laire's incompetence has reached such a point that Church Militant has learned he is
   currently outsourcing work product that he as a canon lawyer is being paid well by the diocese
   to complete himself to the canonical community at large, at increasingly great expense to the
   diocese.

   On a professional level, he is said by priests and laity who currently work with him in the
   diocese to be a vindictive and manipulative clericalist who pines to be named a bishop or an
   o cial of the Congregation for the Doctrine of the Faith. Hence his attack on the Saint Benedict
     ffi
   Center, a "useful situation" designed to redirect attention away from complaints regarding his
   performance and instead to his "skill" as an expert in doctrinal matters, notwithstanding his
   incompetence in things canonical.

   Additional questions are raised, however, not just by the recent decisions of the vicar a ecting




                                                                                                                        ff
   Catholic faithful under his power, but also by his acquisitions. While Pope Francis has checked
   into a hotel instead of the Apostolic Palace for lodging, Church Militant has learned that de
   Laire now frequently resides at an estate located near Manchester that he recently purchased,
   currently valued at $1.5 million: an exclusive 4,000-square-foot, four-bedroom residence with
   600 feet of waterfront, waterfalls and a koi pond.




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                                                                              absolutely-necessary-for) By Bradley Eli, M.Div.,
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               Tracey • 3 years ago
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                                                                                                                       CM0048
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               Tracey • 3 years ago
               I would like to say all these comments about Fr. de Laire are hateful and unchristian! You should
               all be ashamed of yourselves for being so judgemental and making so many assumptions about
               this priest. Salvation is for those who follow the teachings of Christ. Focus on your faith and if you
               do not agree with Fr. de Laire’s comments and actions, then pray for him and be compassionate.
               Being a priest is a very hard job in this day and age, and they are just as human as anyone else.
               A lot of these accusations are false and these speculations are a waste of time and gossip is a
               sin. I know Fr. de Laire to be a loving and compassionate man, and he does a lot of good in his
               ministry. Maybe you should all look at yourselves and ask what kind of Christian are you if you are
               being so judgemental. Why not take your time and energy to pray for the church, and for priests
               who are trying their best to serve you. You know nothing of what it’s like to be in such a position.
               Priests do not take vows of poverty...and many priests own property from their own families or
               their own savings. It’s not your place to judge this man...it’s up to God, who calls us to love the
               sinner, hate the sin. I suggest those of you full of hate ask your God for forgiveness and pray that
               you can be a better member of your church.
               These comments have really gone off topic and one’s sexual preference is totally irrelevant to
               one’s ability to serve, and it’s none of anyone’s business how priests choose to deal with the
               challenge of celebacy. Jesus never made a single comment about homosexuals and using the
               word “sodomite” to describe a church leader is despicable. I suspect those of you who have time
               to spend gossiping and having these thoughts are filled with guilt about your own short-comings
               and poor decisions. Pray, forgive, thank God for those who are brave enough to continue serving
               as priests. Stop wasting your time and allow God to handle the matters which are beyond your
               control and foster more love in your hearts.
               1△       ▽ 5 • Reply • Share ›

                         Clifton Webb > Tracey • 7 months ago
                         Tracey. I see you are a troll. Only signed on in an attempt to defend fr de laire. I hope you
                         have found what ever it was you were seeking.
                         △ ▽ 1 • Reply • Share ›

                         Clifton Webb > Tracey • 7 months ago
                         Your loyalty to Fr. De laire is admirable. Yet others, some of whom are in the clergy, are
                         saying his incompetence is troubling.
                         I’ll pray for along with those he seems to have attacked less Christian like.
                         △ ▽ 1 • Reply • Share ›

                         John P Glackin > Tracey • 2 years ago
                         You must follow Jesus' Teachings within the Catholic Church in order to be saved.
                         △ ▽ • Reply • Share ›

                         Joshua Hernandez > Tracey • 3 years ago
                         Excuse me. Are you unaware of the utterly severe and unjust punishments imposed on
                         these faithful catholics by de Laire for the sole reason of their defending a defined dogma
                         of the Church? Who's the one being judgmental here? What planet are you living on?
                         3△       ▽ • Reply • Share ›                                                            (/donate)

                           h ti    >
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                                                                                                                 CM0049
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                         photius > Tracey • 3 years ago
                         Tracey the truth shall set you free. He is a hateful man who does not know his Theology.
                         Why defend a hateful man like whats your involment with him. Yes we know priests don't
                         take a vow of poverty you sill goose. But then how do you expect those on the marginal
                         line sufferin hardship to make a living respect this incompetent individual.
                         △ ▽ • Reply • Share ›

                         BYZANTINECATHOLIC > Tracey • 3 years ago
                         "Stop wasting your time and allow God to handle the matters which are beyond your
                         control and foster more love in your hearts."

                         Considering what is publicly surfacing in the Catholic Church as regards to sexual abuse,
                         Catholic Doctrine abuse, economic abuse(stealing) of church funds, etc. etc. do you blame
                         the faithful who scrutinize every possible misdeed by Catholic Clergy?
                         We the Faithful are now trying to hold Catholic Church Hierarchy accountable for their
                         actions at every level.

                         The only way to know what's going on in the Catholic Church(all Rites) is through CM and
                         RADIX.
                         I know several Catholic Priest's who belong to Church Militant to find out what's really
                         happening
                         in the Catholic Church that they have given their life for!
                         The real truth is even held from them!
                         2△      ▽ • Reply • Share ›

                                   Tracey > BYZANTINECATHOLIC • 3 years ago
                                   Yes it’s very hard not to scrutinize every priest, and very sad it has come to this. I
                                   agree they should be held accountable for their wrong-doing..but this conversation
                                   about Fr. de Laire has gotten way out of control. Let’s pray for good priests to stay
                                   strong in the face of unfortunate accusations and speculations that may not be true.
                                   △ ▽ • Reply • Share ›

                                             BYZANTINECATHOLIC > Tracey • 3 years ago
                                             :)
                                             △ ▽ • Reply • Share ›

                         Anthony > Tracey • 3 years ago
                         Well someone needs to read up on what the church has always taught, if we do not then
                         we will become heretics and believe false doctrines. Jesus said to make a righteous
                         judgment. He called out the heretics of his day and called them a brood of vipers. He also
                         whipped people out of the temple and overturned the tables of the money changers
                         turning his Father's house into a den of thieves. I see a problem of people having the
                         wrong view of Christ and it seems more that the protestant christ is one like they believe in
                         these days. One that never is judging, always smiling, always happy, never angry, never
                         sad. What a bunch of lies. Of course Christ is meek and humble of heart but if you are
                                                                                                        (/donate)
                         snake or a wolf He certainly came down on them harshly and doing so today to the
                         cowards in the hierarchy is no different we are being Christlike by doing so So take your
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                                                                                                                CM0050
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                    cowards in the hierarchy is no different, we are being Christlike by doing so. So take your
                    fluffy Christ that doesn't care if pastors are homosexuals and unholy and go worship Him,
                    but I warn you if you do you will definitely lose your soul, this is what the Church always
                    taught. Either believe it all or none of it, dont be a modernist heretic and pick and choose.
                    And Roman's chapter 1 will tell you all you need to know about the sodomites and what
                    they are full of. We pray for them and hope they convert, we love the person and we detest
                    those sins of depravity. It's a fine line really, but yes we are to love our enemies and pray
                    for them, but when it comes to judgment in the house of God it is different as scripture
                    says. We dont so much judge outsiders but those within with a righteous judgment, with
                    sternness yet with gentleness. Depending on the gravity of the situation. St Pope Pius the
                    V would hand over any priests that were caught sexually abusing boys to the local
                    authorities of the time and said if those men were found guilty to put them to death. Now
                    there's a holy Pope we need these days. Justice, where is justice?
                    2△    ▽ • Reply • Share ›

                    Josephine Harkay > Tracey • 3 years ago
                    You are right about secular priests not taking a vow of poverty. But as priests they should
                    try to follow Christ more closely and not revel in worldly goods. True, Jesus never spoke
                    about homosexuality, but He also never spoke about abortion; a lot of things are not
                    recorded in the NT, but sodomy is a biblical word and is vehemently condemned. Now
                    whether Fr. Georges de Laire is a homosexual and also practices sodomy, is another
                    thing; we have no proof of the latter.
                    △ ▽ • Reply • Share ›

                           Marguerite Trombino > Josephine Harkay • 3 years ago
                           He never spoke of abortion???? Thou shalt not kill
                           1△     ▽ • Reply • Share ›

                                   Josephine Harkay > Marguerite Trombino • 3 years ago
                                   I believe the concept of abortion per se is never mentioned in the NT
                                   altogether, I wished it would have been for clarity's sake. You are allowed to
                                   kill your enemies because they threaten your life. This is what pro-abortion
                                   people claim: you can kill your baby if it threatens your life.
                                   △ ▽ • Reply • Share ›

            BYZANTINECATHOLIC • 3 years ago
            Does anyone know what kind of Bishop Peter Libasci is?
            Is he faithful to Catholic Church Doctrine?
            Is he pro LGBT?
            △ ▽ • Reply • Share ›

            BYZANTINECATHOLIC • 3 years ago
                "resides at an estate located near Manchester that he recently purchased, currently valued at
                $1.5 million: an exclusive 4,000-square-foot, four-bedroom residence with 600 feet of waterfront,
                waterfalls and a koi pond."                                                         (/donate)
                WHAT!
                Wh         did thi                      f     ?
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                         10/51

                                                                                                    CM0051
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               Where did this money come from?
               I guess de laire didn't take a vow of poverty!
               1△       ▽ • Reply • Share ›

                         ColorsOfTheWind > BYZANTINECATHOLIC • 3 years ago
                         Diocesan priests don't take vows of poverty.
                         △ ▽ • Reply • Share ›

                                   BYZANTINECATHOLIC > ColorsOfTheWind • 3 years ago
                                   apparently!
                                   3△      ▽ • Reply • Share ›

               Jules • 3 years ago
               I agree that ther are a lotr of disturbing "facts" in this article, but actually, I know Fr. De Laire, his
               family is extremely wealthy, originally from Paris, and he owns the house because of his family.
               The house is not paid for by the diocese.
               △ ▽ • Reply • Share ›

                         GoldenRudy > Jules • 3 years ago
                         One does "scandalize" by one's actions, even if those actions are innocent. Something
                         more modest may be appropriate in this case of $1.5M house and reduce the
                         "scandalization" of both Catholics and non-Catholics. One can only imagine the type of
                         "ride" he has.
                         △ ▽ • Reply • Share ›

                         JohnnyCuredents > Jules • 3 years ago • edited
                         And I have seen the bill of sale where his parents' names appear, so this much of the
                         story, as you say, can be put to rest; there'rs no 'there' in this there. That fact in no way
                         undermines the rest of the story, though.
                         △ ▽ • Reply • Share ›

                                   GoldenRudy > JohnnyCuredents • 3 years ago
                                   The "there" is the scandalous impression(s) given off by the purchase of such a
                                   house for a priest. If it were not, this article would not include such a statistic.
                                   △ ▽ • Reply • Share ›

                                             JohnnyCuredents > GoldenRudy • 3 years ago
                                             You do know that secular priests do not a vow of poverty, right?
                                             △ ▽ • Reply • Share ›

                                             Racheal Brimberry > JohnnyCuredents • 7 months ago
                                             I do not know, personally, of ANY priests who live in $1.5 million dollar
                                             homes. None. And I know they haven’t taken a vow of poverty. They live in
                                             the rectory; bishops live in houses provided by the archdioceses or
                                                                                                              (/donate)
                                             dioceses. Maybe this priest needs to take a vow of common sense.
                                             △ ▽          R   l      Sh
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                                                                                                                CM0052
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                                             △ ▽ • Reply • Share ›

                                   Jules > JohnnyCuredents • 3 years ago
                                   Agreed. However, I am a conservative Catholic who values an objective look at the
                                   inner workings of our church. The innuendos, inferences, and supplications in
                                   several of these articles border on gossip and hearsay rather than facts. I would
                                   much prefer just the facts rather than presumptions. For example, he cited three
                                   complaints against father in this article, how do we know these complaints are well-
                                   founded? There are a lot of crazy people within our own church. Instead, he makes
                                   it seem as the complaints are already validated and we can start to crucify this
                                   priest. I agree with most of the article but we must be more careful with our
                                   assumptions.
                                   △ ▽ • Reply • Share ›

                                             JohnnyCuredents > Jules • 3 years ago • edited
                                             You're right about separating gossip from evidence. Unfortunately, when
                                             there is a great deal of smoke inside the Church these days, we have to pay
                                             attention because we've learned it often means there is in fact a fire; almost
                                             obsessive ecclesiastical secrecy leaves us no other recourse to discover
                                             what is afoot. If, for example, everyone had taken seriously the many
                                             private stories that circulated concerning Ted McCarrick, this gangster might
                                             have been put out of business long ago. Were these reports gossip before
                                             we had physical evidence of payouts and court cases? Sure, but they
                                             pointed in the right direction.
                                             2△      ▽ • Reply • Share ›

               Pavel Faigl • 3 years ago
               "de Laire now frequently resides at an estate located near Manchester that he recently
               purchased, currently valued at $1.5 million: an exclusive 4,000-square-foot, four-bedroom
               residence with 600 feet of waterfront, waterfalls and a koi pond."
               If true, fire the whole bunch! Get that fool to clean the parks and streets and do some real work for
               the poor!
               1△       ▽ • Reply • Share ›

               Bad Problems? Bad Seminaries! • 3 years ago
               Someone below wondered or commented that they bet the Richmond NH SBC has gotten itself
               specifically and negatively on the Diocese's radar for doing something anti-LGBT. Here's one
               example that might qualify... Just google RADICAL TRADITIONALIST CATHOLIC GROUP IN NH
               BARS GAY COUPLE. Just be forewarned that the story is written by the SPL center.
               △ ▽ • Reply • Share ›

                         JohnnyCuredents > Bad Problems? Bad Seminaries! • 3 years ago
                         This may indeed be a fruitful trail to follow. I suspect there was a cabal of Roman-collared
                         sodomafiosos working in the diocese during the decade-long heyday of Ed Arsenault, the
                         disgraced and defrocked former Chancellor and chief capo for Bishop John McCormack.
                                                                                                         (/donate)
                         Perhaps it or elements of it are still in business in Manchester.
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                12/51

                                                                                                                CM0053
                Case 1:21-cv-00131-JL                    Document 289-1                Filed 02/04/25   Page 14 of 39
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                         △ ▽ • Reply • Share ›

               GodnCountry • 3 years ago
               I know this isn't the point of the article - but - the Pope lives in a hotel? Am I missing something?
               △ ▽ • Reply • Share ›

                         jm08050 > GodnCountry • 3 years ago
                         St. Martha's Residence is not a hotel. It is a Vatican property and very deluxe.
                         △ ▽ • Reply • Share ›

                                   GodnCountry > jm08050 • 3 years ago
                                   I see. Thanks. Wait. Why doesn't he live in the Vatican?
                                   △ ▽ • Reply • Share ›

               Ignatius Lee • 3 years ago • edited
               4,000-square-foot Universalist Palace necessary for thought control headquarters
               3△       ▽ • Reply • Share ›

               Josephine Harkay • 3 years ago
               Of course not everybody is guilty, but one of the problems in the Catholic hierarchy was, and still
               is, the hunger for promotion and power. That is a largely masculine trait which apparently is not
               extinguished by ordination. A secondary trait is a love of money which is also not extinguished by
               ordination.
               4△       ▽ 1 • Reply • Share ›

                         JohnnyCuredents > Josephine Harkay • 3 years ago
                         Hmm. Must be why many of us see Crooked Clinton, Abortion Pelosi, Liarwatha Warren,
                         and Dizzy Maxi Waters as the real men in their respective families. There has never been
                         anything feminine about feminism.
                         1△      ▽ • Reply • Share ›

                                   Josephine Harkay > JohnnyCuredents • 3 years ago
                                   Feminism, like pro-choice, is a misnomer; it should be "women's revolt" and the
                                   latter pro-abortion. But one must be fair; the women's "revolt" does have some valid
                                   points: e.g. equal pay for equal work, equal chance at promotion in the workplace,
                                   and protection against sexual predation.
                                   △ ▽ • Reply • Share ›

                         ColorsOfTheWind > Josephine Harkay • 3 years ago
                         @Josephine Harkay, "hunger for promotion and power" is not a "masculine" trait. The root
                         of the word "greed" is "hunger". Compound that with desire for promotion (pride) and
                         power (lust), you have made yourself a diabolical cocktail that can be easily imbibed by
                         anyone who is not interested in developing
                         moral virtue. I can name names but I will refrain.                             (/donate)

                         There is no such thing as sin being "extinguished" However it can be absolved in the
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                13/51

                                                                                                                CM0054
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                         There is no such thing as sin being extinguished . However, it can be absolved in the
                         Sacrament of Reconciliation. Virtue on the other hand is a habitual behavior, meaning the
                         virtues of the opposite of greed, pride, and lust, such as, generosity, humility, and chastity,
                         are obtained by practice.
                         1△      ▽ • Reply • Share ›

                         GodnCountry > Josephine Harkay • 3 years ago • edited
                         I'm thinking some teaching and rules by St. Francis are in order. I wouldn't call these
                         masculine traits either. Just watch the feminazis today.
                         2△      ▽ • Reply • Share ›

                         Stephen Quayle > Josephine Harkay • 3 years ago
                         Please provide your conclusive evidence that what you say is a "largely Masculine Trait"...
                         or are you trying to remind us that only men are ordained ,so that is the reason it is a
                         "largely masculine Trait'" ? or are you just trying to slander all men with a negative trait... I
                         await your wisdom.
                         2△      ▽ • Reply • Share ›

                                   Josephine Harkay > Stephen Quayle • 3 years ago • edited
                                   Practically all the "wisdom" I possess comes from the huge amount of material I
                                   have read in my lifetime. Sorry, I couldn't possibly find the articles I read about
                                   dominant male and female characteristics; e.g. the male hormone testosterone
                                   makes men aggressive. This innate aggressiveness manifests itself in the
                                   priesthood by trying to get ahead. (We are not talking now about saintly priests.)
                                   You could also read here on Church Militant what machinations were going on
                                   behind closed doors to advance a member of the clergy to a higher title or position.
                                   Ambition can be good or bad; what is a "virtue" in business and civil life, is a "vice"
                                   in the hierarchy. The love of money of course is a universally human trait; undue
                                   love of money is bad in every state of life.
                                   1△      ▽ • Reply • Share ›

               Jim Dorchak • 3 years ago
               What is this heretics contact data? The gates of Heaven and the internet need to flood this idiots
               in box and his Bishops!
               6△       ▽ • Reply • Share ›

                         ColorsOfTheWind > Jim Dorchak • 3 years ago
                         @Jim Dorchak, great idea.

                         Fr. Georges de Laire, is the Pastor of
                         St. Pius X Parish
                         575 Candia Rd, Manchester, NH 03109
                         FatherdeLaire@aol.com

                         It is appalling what he has on their webpage only because he is doing and saying exactly
                         opposite of what their "mission" is. 🤮 The nerve of this guy!               (/donate)


https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                14/51

                                                                                                                CM0055
                Case 1:21-cv-00131-JL                    Document 289-1                Filed 02/04/25      Page 16 of 39
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                         Most Reverend Peter Anthony Libasci
                         Diocese of Manchester
                         153 Ash Street
                         Manchester, NH 03104

                         I couldn't find an email address for his Bishop.
                         1△      ▽ • Reply • Share ›

                                   Pavel Faigl > ColorsOfTheWind • 3 years ago
                                   Email to the first is on the way. Can anybody get the email of the second twit?
                                   △ ▽ • Reply • Share ›

               TruthHunter • 3 years ago
               The corrupt priests and bishops just don't stop. They seemingly want to destroy the foundation of
               the Church's beauty and Truth. I hope the naive and witless Catholics will soon wake up and stop
               living in denial. They don't see the truth and don't want to. The Corrupt bishops know the pews
               are filled with those who will follow them - right to the brink of hell, rather than take a stand against
               them. Maranatha!
               4△       ▽ • Reply • Share ›

                         ColorsOfTheWind > TruthHunter • 3 years ago
                         "pews are filled"? Not hardly. It isn't about taking a stand "against them" as it is standing in
                         the Traditional and Orthodox teachings of the One Holy Catholic and Apostolic Church.
                         People sleeping in the pew usually don't wake up unless there is reason to do so. Give
                         them reason, Gloria. 😃 We've got to pray for our own continual conversion, for all
                         sinners, heretics, schismatics, and pagans. The Lord is not willing that any should perish,
                         but that all should come to repentance. 1 Pet 3:9
                         △ ▽ • Reply • Share ›

            () squire98
                    () • 3 years
                             () ago •()edited                                                         (http://www.printfriendly.com)
               Arrogance, insolence and intentional ignorance are some of the hallmarks of an unduly ambitious
               person. He seems to qualify for the grade. In the priesthood this can mean putting aside dogma
               for the sake of heresy in order to grab a seat at the head table.
               5△       ▽ • Reply • Share ›

               Mrs. Diogenes • 3 years ago
               These poor people have been through this before. They have a letter somewhere that was written
               by I think it might have been the vicar general of the Boston Archdiocese (that's where their group
               is originally from) saying that they are entitled to a staunch interpretation if others are entitled to a
               quite broad interpretation of the dogma.

               I'm glad Michael and his crew are on their side. Brother Andre Marie worked and lived with
               Brother Francis for a very long time. Brother Francis was Father Feeney's "right hand man".

               As an aside, what they are saying is what I was taught in grammar school. Someone that got lost
               in the years following Vatican II.                                              (/donate)

               5△       ▽ • Reply • Share ›
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                          15/51

                                                                                                                      CM0056
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9/1/2021                                                         NH Vicar Changes Dogma Into Heresy
               5               Reply     Share ›


               Indybob • 3 years ago
               How in the world does a man of God afford such a home? He Bishop should investigate.
               5△       ▽ • Reply • Share ›

                         Jules > Indybob • 3 years ago
                         Actually, I know Fr. De Laire, his family is extremely wealthy, originally from Paris, and he
                         owns the house because of his family. Not from the diocese.
                         △ ▽ • Reply • Share ›

                         ColorsOfTheWind > Indybob • 3 years ago
                         The laity pay for it as they pay for EVERYTHING!
                         △ ▽ • Reply • Share ›

                         jesuphile > Indybob • 3 years ago
                         Well, that's precisely it. He's not a man of God. He's a man of mammon. He wants to be
                         another Cardinal Wuerl.
                         4△      ▽ • Reply • Share ›

               Shoe • 3 years ago
               Interesting acquisition- I'm sure Jesus and the Apostles had similar digs while spreading the faith,
               especially the waterfront view and waterfalls. Anyone else want to claim corruption???? Maybe
               the bishop should be looked into for spending of contributions and leave good people alone.
               5△       ▽ • Reply • Share ›

               SgtJUSMC • 3 years ago
               I heard from Brother Andre Marie that he had a "discussion" with a priest concerning the doctrine
               that Divine revelation ended with the death of the last Apostle. The priest swore that Divine
               revelation has not ended and that is what is being taught in the seminary. Brother Andre followed
               up the discussion with an email to the priest with citations from various Church Fathers, Papal
               Encyclicals/Bulls, and the Catechism trying to change the priest's mind. This happened last fall. I
               wonder if this is where the problem began?
               3△       ▽ • Reply • Share ›

                         GodnCountry > SgtJUSMC • 3 years ago • edited
                         Wait what? Is it dogma that divine revelation ended? Call me ill informed, but when the
                         Pope spoke the Immaculate Conception and Mary confirmed it to Bernadette, wasn't that
                         divine? Or is what your speaking of something else? Sincere question here.
                         1△      ▽ • Reply • Share ›

                                   JohnnyCuredents > GodnCountry • 3 years ago
                                   The Immaculate Conception was always believed by a significant number of the
                                   faithful and was implicit in all that was taught up to the end of the Apostolic Age.
                                   The notion that revelation somehow continues is a heretical notion dear  (/donate)
                                                                                                               to the likes
                                   of Tom Rosica and those of his ilk.
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                 16/51

                                                                                                                CM0057
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                                   1△      ▽ • Reply • Share ›

                                             GodnCountry > JohnnyCuredents • 3 years ago
                                             I must not understand the term revelation then. So what the Blessed Virgin
                                             has said, in repeated attempts to save us, to seers years in advance of the
                                             events, is not revelation? She's revealing the future. That's not it?
                                             △ ▽ • Reply • Share ›

                                             JohnnyCuredents > GodnCountry • 3 years ago
                                             No, it is not. Remember that the Church cautions --always has-- that these
                                             private revelations (Fatima, Akita, etc.) are not obligatory beliefs for the
                                             faithful. Do you think the Church would ever say that about revelation?
                                             △ ▽ • Reply • Share ›

                         Josephine Harkay > SgtJUSMC • 3 years ago
                         I thought Divine revelation ended with the descent of the Holy Spirit. – Speaking for
                         myself, if would be wonderful if God would still talk to us from a burning bush or from
                         wherever.
                         1△      ▽ • Reply • Share ›

                                   GodnCountry > Josephine Harkay • 3 years ago
                                   Oh .... He may be planning to do that soon.
                                   2△      ▽ • Reply • Share ›

                         Tom Kaye > SgtJUSMC • 3 years ago • edited
                         It doesn't surprise me that the error "Divine revelation has not ended and that is what is
                         being taught in the seminary." exists today. Modernists would love to jump all over that and
                         use it to justify their error plagued, changeable doctrines. Whatever solace one can draw
                         from this problem is the knowledge that modernist idiots like this have come and gone in
                         the Church for two thousand years and have always been refuted.

                         SgtTUSMC
                         4△      ▽ • Reply • Share ›

               Dan Knight • 3 years ago
               "Botched?" ... or deliberately mangled.

               Circumstantially it would appear Father Georges de Laire, the 'canon' lawyer, is really just a 'fixer.'
               Likely for the Lavender Mafia.

               Just sayin' ... that's what it looks like.
               24 △      ▽ • Reply • Share ›

               Matthew Trieger • 3 years ago
               Thank God for the St. Benedict Center                                                            (/donate)
               4△       ▽ • Reply • Share ›
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                   17/51

                                                                                                                CM0058
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                         PaulSchiller > Matthew Trieger • 3 years ago
                         the Bishop should immediately reverse the order.

                         if he doesn't the he can truly be considered corrupt
                         2△      ▽ • Reply • Share ›

                                   SgtJUSMC > PaulSchiller • 3 years ago
                                   I think we can be fairly certain that this was not done with out the Bishop's
                                   knowledge and blessing. :(
                                   2△      ▽ • Reply • Share ›

                                             PaulSchiller > SgtJUSMC • 3 years ago
                                             I disagree. Such intrigues of this sort have occurred throughout Church
                                             history. And then subsequently reversed.

                                             The expose states that this occurred when the Bishop was out of town .. a
                                             common ploy of ruthless people.

                                             I will wait and see .. I won't wait long
                                             △ ▽ • Reply • Share ›

               Frank M • 3 years ago
               Most likely this is payback for something someone running the Saint Benedict Center said about
               homosexuals.
               4△       ▽ • Reply • Share ›

               JBQ21 • 3 years ago
               In order for the new Church to arise, the old one must be destroyed. This includes a radical
               change in morality in order to implement the new world order and the creation of a one world
               religion.
               7△       ▽ • Reply • Share ›

                         GodnCountry > JBQ21 • 3 years ago
                         Frightening stuff.
                         2△      ▽ • Reply • Share ›

                                   JBQ21 > GodnCountry • 3 years ago
                                   It would appear to have been shown in the Third Secret.
                                   1△      ▽ • Reply • Share ›

                                             GodnCountry > JBQ21 • 3 years ago
                                             I've read quite a bit about the Secret. It's coming to fruition before our eyes.
                                             △ ▽ • Reply • Share ›
                                                                                                                (/donate)
                                             JBQ21 > GodnCountry • 3 years ago
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                   18/51

                                                                                                                CM0059
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                                             Sure looks like it.
                                             △ ▽ • Reply • Share ›

               Andrew Blake • 3 years ago
               'incasinaro" typo (?) "incasinato"
               2△       ▽ • Reply • Share ›

               JCS • 3 years ago
               It sounds like this fraud is living quite well off the laity's donations.He is a jerk, they should just
               laugh in his face.
               4△       ▽ • Reply • Share ›

               Joe Frances • 3 years ago
               St. Benedict Center should get a half decent canon lawyer and should be able to mop up the floor
               with this guy.
               6△       ▽ • Reply • Share ›

               cnn-3197596d5495e709e26071ecc78bfbc8 • 3 years ago
               Vatican II in a footnote to the document on the Church states that "saving bonds" with the Catholic
               Church are sufficient for salvation. The exact definition of those "saving bonds" is not enunciated.
               These same Slaves of THe Immaculate Heart had been excommunicated by Cardinal Cushing of
               Boston in the 1950's for the same doctrine...and re-instated by this footnote without ever recanting
               or changing their mantra that there is no salvation outside the Catholic Church. Vatican II
               redefined the "Church" as the People of God, thus blurring the edges without altering Pope
               Boniface's dogma.
               1△       ▽ • Reply • Share ›

                         JN > cnn-3197596d5495e709e26071ecc78bfbc8 • 3 years ago • edited
                         For the record, the Slaves of the IHM were NOT excommunicated, not in the Fifties, not
                         ever. A demonstrably defective "excommunication" was pronounced against Fr. Leonard
                         Feeney from Rome (not by then-Archbishop Cushing). But Father's faithful Catholic status
                         was "restored" not, as noted, by his recanting any error, but merely by his reciting in the
                         presence of a visiting bishop the Athanasian Creed (which twice professes the dogma of
                         No salvation outside the Church). Mind you, Father was given no indication that his
                         surreptitious restoration to good standing in the Church was even the purpose of the
                         bishop's visit.
                         △ ▽ • Reply • Share ›

                         PaulSchiller > cnn-3197596d5495e709e26071ecc78bfbc8 • 3 years ago
                         but the salvation still comes through the Church
                         2△      ▽ • Reply • Share ›

                                   cnn-3197596d5495e709e26071ecc78bfbc8 > PaulSchiller • 3 years ago
                                   Yes!                                                                         (/donate)
                                   1△      ▽ • Reply • Share ›
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                   19/51

                                                                                                                CM0060
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9/1/2021                                                         NH Vicar Changes Dogma Into Heresy


                         leev > cnn-3197596d5495e709e26071ecc78bfbc8 • 3 years ago
                         "People of God" so vaguely stated amounts to "sola fide". Basically, it implies all people
                         who profess Jesus as the God Man are members of The Body. But Christ Himself
                         contradicts this notion (Matt. 7:21+), as well as St. Paul in many places because The Body
                         is clearly "My Church" of Matt. 16:18+. True belief is manifested in each human Will. The
                         Will is primary .... see Scotus.
                         1△        ▽ • Reply • Share ›

                                    cnn-3197596d5495e709e26071ecc78bfbc8 > leev • 3 years ago
                                    this reply seems very sketchy to me, I can't make much out of it. Can you clarify?
                                    1△     ▽ • Reply • Share ›

               GaryLockhart • 3 years ago
               even warning Vatican officials that in no case should de Laire be named bishop.

               Well, Jorge Bergoglio's Jesuit Superior Father Peter Hans Kolvenbach made the same
               recommendation to the Vatican in 1991 and it was ignored.
               5△       ▽ • Reply • Share ›

               Marc • 3 years ago
               Women in charge of the Catholic Church...
               1△       ▽ • Reply • Share ›

                         JohnnyCuredents > Marc • 3 years ago
                         Are you saying that Georges is a woman?
                         4△        ▽ • Reply • Share ›

                                    CUgator > JohnnyCuredents • 3 years ago • edited
                                    A homosexual male who dresses in drag when alone is not the same thing as a
                                    woman.
                                    This priest is a freak.
                                    2△     ▽ • Reply • Share ›

                                              JohnnyCuredents > CUgator • 3 years ago
                                              I know. My point was that Marc's comment is anything but clear.
                                              △ ▽ • Reply • Share ›

                                              CUgator > JohnnyCuredents • 3 years ago
                                              OK.
                                              △ ▽ • Reply • Share ›

               Breakfast Champ • 3 years ago
               "Allege corruption, abuse of office, grave violations of the law, and incompetence as a canonist,"
                                                                                                    (/donate)
               sounds like he's ready for a promotion by the Vatican.
               8△       ▽      R    l    Sh
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                20/51

                                                                                                                CM0061
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               8△       ▽ • Reply • Share ›

               sue v • 3 years ago
               He may be a small influence now, but what is going to happen to this doctrinally challenged
               person when this diocese gets rid of him. Does he get a big promotion to go to another diocese?
               Is that how rot spreads?
               5△       ▽ • Reply • Share ›

               Tom Ryan • 3 years ago
               No staff member signed this.
               1△       ▽ • Reply • Share ›

               Parrish • 3 years ago
               I would not hold up a meritorious the Pope living in his remodeled hotel and away from the Papal
               Apartments.
               1△       ▽ • Reply • Share ›

                         Jeanne L > Parrish • 3 years ago
                         The fact that he lives this way is more and more a symbol of his papacy I'm afraid. Yet I
                         agree with Milo and his reasoning, we need to endure him for the sake of the church
                         [>pang<]
                         2△      ▽ • Reply • Share ›

                                   Parrish > Jeanne L • 3 years ago
                                   Where is the actual Catholic Church founded by Jesus?
                                   1△      ▽ • Reply • Share ›

                                             Jeanne L > Parrish • 3 years ago
                                             What?
                                             △ ▽ • Reply • Share ›

               Mises Hayek • 3 years ago
               The following is infalible

               “The most Holy Roman Church firmly believes, professes and preaches that none of those
               existing outside the Catholic Church, not only pagans, but also Jews and heretics and
               schismatics, can have a share in life eternal; but that they will go into the eternal fire which was
               prepared for the devil and his angels, unless before death they are joined with Her; and that so
               important is the unity of this ecclesiastical body that only those remaining within this unity can
               profit by the sacraments of the Church unto salvation, and they alone can receive an eternal
               recompense for their fasts, their alms givings, their other works of Christian piety and the duties of
               a Christian soldier. No one, let his almsgiving be as great as it may, no one, even if he pour out
               his blood for the Name of Christ, can be saved, unless he remain within the bosom and the unity
               of the Catholic Church.” (Pope Eugene IV, the Bull Cantate Domino, 1441.)
               11 △      ▽ • Reply • Share ›                                                                    (/donate)


https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                   21/51

                                                                                                                CM0062
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9/1/2021                                                         NH Vicar Changes Dogma Into Heresy

                         leev > Mises Hayek • 3 years ago • edited
                         Correct .... Council of Florence, 1441. In addition to Eugene IV and Boniface VIII, there
                         were others who have proclaimed this Dogma over and over. Innocent I (1215, 4th Latern)
                         and St. Augustine (not a Pope but a Doctor of The Church, used as a theological stepping
                         stone for many) were also explicit on this matter. And besides all that, it makes no sense
                         that God would be vague in founding His Church and leave behind any "multiple choice"
                         and remain a Divine Being. "I am The Way, The Truth and The Life" .... not merely 'one of
                         them'. I study Scotus who said "the Will is primary". Thank you.
                         7△      ▽ • Reply • Share ›

               ArthurMcGowan • 3 years ago
               And the community has explicitly, in writing, affirmed the Catholic Church's own qualifications to
               EENS--regarding inculpable, invincible ignorance. They are NOT Feeneyite absolutists.
               4△       ▽ • Reply • Share ›

                         Mises Hayek > ArthurMcGowan • 3 years ago • edited
                         Wait a minute. They belive that God gives the grace through personal revelation or
                         missionary apostolets that bring the ignorant into the church so they die beliveng the
                         cathloic faith. The SBC correctly does not belive one can be saved in ignorance, rather
                         that God removes there ignorance through grace. No one can be saved without accepting
                         the cathloic faith. Traditionally BOD was only for the zealous catechumens. The
                         modernists expand it to include pagans.
                         1△      ▽ • Reply • Share ›

               AveMaria17 • 3 years ago
               "affirmations of faith using the Athanasian Creed … are invalid"

               Wow! Just ... wow!

               The other St. Benedict Center in Mass., not affiliated, is officially a "Public Association of the
               Faithful" from Bishop McManus. They believe and defend Extra Ecclesiam Nulla Salus. This is
               100% Catholic, solemnly defined dogma. Not even the reigning pontiff can diminish it one iota.
               Much less an incorrigible lackey.
               8△       ▽ • Reply • Share ›

                         Chris Whittle > AveMaria17 • 3 years ago
                         Fr. Feeney is buried in Still River, Mass.
                         2△      ▽ • Reply • Share ›

                                   TobiasRaphael1 > Chris Whittle • 3 years ago
                                   May God rest his soul. A holy priest who believed the Faith and had zeal for souls
                                   just like his fellow Jesuits..., the Eight North American Martyrs! He truly suffered
                                   persecution for defending Our Lords bride, Holy Mother Church.
                                   2△      ▽ • Reply • Share ›
                                                                                                                (/donate)
                                   AveMaria17 > Chris Whittle • 3 years ago
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                   22/51

                                                                                                                CM0063
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                                   Yes, at what is now St. Benedict Abbey. BTW, the (fully Catholic) Benedictines
                                   there believe and defend the dogma, too.
                                   2△      ▽ • Reply • Share ›

                                             Chris Whittle > AveMaria17 • 3 years ago
                                             Yes, you're correct. They're 3 communities in Still River: the Benedictines
                                             (where the MICM was originally located), St. Ann's House, and the
                                             continuation of the original order, now run by Br. Thomas Augustine and Sr.
                                             Katherine Maria, all right next to each other. (70th anniversary today of
                                             when the Harvard Square St. Benedict Center members took first vows as
                                             Slaves of the Immaculate Heart of Mary.)
                                             2△      ▽ • Reply • Share ›

               HRpuffinstuff • 3 years ago
               Do you happen to have an address for his palatial home? I live in NH and might want to pay him a
               visit...
               2△       ▽ • Reply • Share ›

                         CUgator > HRpuffinstuff • 3 years ago
                         You should find that out from other sources since "doxing" that type of info. might leave
                         this website into legal problems.
                         1△      ▽ • Reply • Share ›

               Jack • 3 years ago • edited
               This situation is reminiscent of the scene with Lt. Dunbar's last commanding officer in "Dances
               With Wolves".
               △ ▽ • Reply • Share ›

               giannamolla • 3 years ago
               I think it is important to point out that the St. Benedict Center in Richmond, New Hampshire has
               never been given canonical recognition by the Diocese of Manchester, NH. It was refounded in
               1976 by Br. Hugh MacIsaac (Slaves of the IHM?). This St. Benedict Center (different web site
               (saintbenedict.com) is in Still River, MA, and is recognized by the Bishop of Worcester. Both
               groups run a school named for the Immaculate Heart of Mary. It can get very confusing for
               Catholics to distinguish the Feeneyites (of New Hampshire) from the Slaves of the IHM in Still
               River, MA, both running a Saint Benedict Center. Your research might also discover that on Aug
               16/18 one of the signees of the letter to the Cardinals asking Pope Francis to correct his 'new'
               teaching on capital punishment, was Brother Andre Marie, M.I.C.M. who is the Prior of the New
               Hampshire St. Benedict Center, and holds a MA in dogmatic theology. This would cause
               annoyance to the diocese of Manchester, NH.
               △ ▽ • Reply • Share ›

               David Dickey • 3 years ago
               When Pope Paul VI reconciled Fr Leonard Feeney to the Catholic Church, he required, only that
                                                                                                 (/donate)
               Fr Feeney simply recite one of the approved creeds of the Catholic Church. Fr Feeney chose the
               Athanasius Creed recited it and the Holy Father lifted the excommunication Fr de Laire
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                23/51

                                                                                                                CM0064
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               Athanasius Creed, recited it, and the Holy Father lifted the excommunication. Fr de Laire
               presumably considers Pope Paul VI to be a heretic.
               1△       ▽ • Reply • Share ›

                         Chris Whittle > David Dickey • 3 years ago
                         Actually, it was a Boston auxiliary bishop who, by his surprise, recited the Athanasian
                         Creed framed on the wall with Fr. Feeney in 1972. The formula was: "I absolve thee from
                         any ecclesiastical penalties or censures you may have occurred, in the Name of the
                         Father, and of the Son, and of the Holy Ghost. Amen."
                         1△      ▽ • Reply • Share ›

                         Reuben Ortiz > David Dickey • 3 years ago
                         Why is there news that Pope Paul VI was in fact a homosexual, and because of this sad
                         fact, it is said that he compromised the pontificate of his papacy? Viva Cristo Rey
                         △ ▽ • Reply • Share ›

                                   JohnnyCuredents > Reuben Ortiz • 3 years ago
                                   But, even if true, his being a sodomite would not make him ipso facto a heretic,
                                   right?
                                   △ ▽ 1 • Reply • Share ›

                                             Reuben Ortiz > JohnnyCuredents • 3 years ago • edited
                                             Please forgive how long my explanation is. I do understand that Jesus will
                                             not accept any pope into heaven if that pope compromises the way, truth
                                             and life of Jesus as pope, and if that pope leads even one sheep of HIS
                                             flock into hell, Jesus said, to Peter, "Feed My Flock", so the pope must feed
                                             the flock without changing the way, truth and life of Jesus. As pope, he is
                                             accountable for "ALL" of the flock. The flock IS the Mystical Body of Jesus
                                             Himself that cannot be deformed by a pope.

                                             When you say, "his being a sodomite" that makes me curious of your
                                             intention. Let me say, if Paul VI continued as, "his being a sodomite" to the
                                             end, even if he repented at the end, it means that Paul VI had not the
                                             courage to die for the truth of Jesus Christ, in protecting the truth in "his
                                             being a sodomite". Paul VI never in this state of "his being a sodomite"
                                             never openly professed it to the world. Saint Paul always openly professed
                                             who he was as Saul, as it could not be hidden by the Christians of those
                                             days and it still cannot be hidden from Christians of today, and that is why I
                                             ask as a Christian, "Why is there news of Pope Paul VI as a homosexual,
                                             since he did not profess it to be the truth of him?" "WHY was it hidden?" If

                                                                                            see more

                                             △ ▽ • Reply • Share ›

                                             JohnnyCuredents > Reuben Ortiz • 3 years ago
                                                                                                                (/donate)
                                             You seem not to know the meanings either of "heretic" or perhaps of the
                                             Latin ipso facto. The latter in my sentence means 'by the very fact' and,
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                     24/51

                                                                                                                CM0065
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                                             Latin ipso facto. The latter in my sentence means by the very fact and,
                                             clearly, homosexuality, the inclination peculiar to sodomites, is not grounds
                                             for declaring anyone a heretic. Here is a short definition of a heretic:
                                             "Objectively, therefore, to become a heretic in the strict canonical sense and
                                             be excommunicated from the faithful, one must deny or question a truth that
                                             is taught not merely on the authority of the Church but on the word of God
                                             revealed in the Scriptures or sacred tradition." Homosexuality is a very
                                             serious personality disorder, but it does not necessarily entail also being a
                                             heretic.
                                             △ ▽ 1 • Reply • Share ›

                                             Reuben Ortiz > JohnnyCuredents • 3 years ago • edited
                                             I know the meaning of "salvation" and how one achieves or loses it, and I
                                             am not a politician, I follow the law, but I follow Christ above all. Christ is not
                                             confusing in the terms of ipso facto and heresy. Jesus declares
                                             homosexuality as death, and in this conversation, homosexuality is the
                                             subject matter, ipso facto, if a sodomite or sodomite pope promotes Sodomy
                                             on earth, ipso fact, he is not in heaven. Any sodomite sheep who follow a
                                             sodomite pope, if they do not repent and confess their mortal sins with
                                             "humility in honesty", before they die, what they did in active or consenting
                                             to homosexuality in that mortal sin, will be the deciding factor of where
                                             those souls end up in their eternal salvation, but a pope has the highest
                                             accountability, not only for his soul, but for ALL the souls of Jesus' flock.
                                             Heretic or not, you can try to figure that one out in popes who reigned or
                                             while popes reign, but to follow a sodomite pope is dangerous. Don't be
                                             afraid of a person who can kill the body, be afraid of a person who can kill
                                             both body and soul. To follow a sodomite pope who denies "his being a
                                             sodomite", is not a pope I will follow. To die consenting to a sodomite popes
                                             ways, without repenting or confessing, because there was ignorance on the
                                             part of the soul who didn't know about that pope, might get you into
                                                                                            see more

                                             △ ▽ • Reply • Share ›

                                             JohnnyCuredents > Reuben Ortiz • 3 years ago
                                             Enough, Reuben. Prolixity is not a sign of understanding.
                                             △ ▽ • Reply • Share ›

                                             Reuben Ortiz > JohnnyCuredents • 3 years ago
                                             Do you like or hate me? Which one is it? You are the one who has made
                                             this about me when it is about the Vicar of Manchester. I said nothing to
                                             you, but you unlike Jesus do not like the simple form of explaining how
                                             Jesus feels about it. Yea, I only live and breath because of, and for, and with
                                             Jesus, because I love, I trust, I do the Divine Will of Jesus. I'll keep it short
                                             just for you. :-) Viva Cristo Rey
                                             △ ▽ • Reply • Share ›                                              (/donate)


https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                     25/51

                                                                                                                CM0066
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                                             JohnnyCuredents > Reuben Ortiz • 3 years ago
                                             I neither like nor hate you. I don't even know you.
                                             △ ▽ • Reply • Share ›

                                             Reuben Ortiz > JohnnyCuredents • 3 years ago • edited
                                             Instead of asking a question as an answer to the question I asked, just
                                             answer the question with a simple answer. You avoid the question with the
                                             question, and insult me by saying I do not understand what heretic and ipso
                                             facto mean. It doesn't matter if I know the meaning of heretic and ipso facto,
                                             because I know the meaning of homosexual. It is almost as though you are
                                             protecting the meaning of homosexual by asking the question of "heretic
                                             and ipso facto" which is my assessment of you. I have no qualm with you,
                                             but if you want to compare comments, I guarantee, yours comments are in
                                             err of mine. Viva Cristo Rey
                                             △ ▽ • Reply • Share ›

                                             JohnnyCuredents > Reuben Ortiz • 3 years ago
                                             Mira, puede que entiendas mejor el español que el inglés. No busco
                                             querella contigo, pero me parece que tú sí la buscas conmigo. Deja las
                                             cosas donde están y déjame en paz. ¿De acuerdo, amigo?
                                             △ ▽ • Reply • Share ›

                                             Reuben Ortiz > JohnnyCuredents • 3 years ago • edited
                                             I do not need to understand the language of Spanish to realize that you are
                                             'rude', and unbecoming in the ignorance of your comment. The heart of your
                                             soul must change so that your world will change.

                                             I am going to answer your question in the context of the question that I
                                             asked first in relation to your question. My question was: "Why is there news
                                             that Pope Paul VI was in fact a homosexual, and because of this sad fact, it
                                             is said that he compromised the pontificate of his papacy?", and you replied
                                             with a question, "But, even if true, his being a sodomite would not make him
                                             ipso facto a heretic, right?"

                                             Here is the answer in relation to the subject: If a soul dies in active or
                                             consenting to homosexuality, the second death IS death/hell. The answer to
                                             your question in relation to my question: If a soul dies in active or
                                             consenting to heresy ipso facto, the second death IS death/hell, so
                                             homosexuality in relation to a heretic ipso facto, there is no difference in the
                                             second death, in that Both Are DEATH/HELL! Viva Cristo Rey
                                             △ ▽ • Reply • Share ›

                                             JohnnyCuredents > Reuben Ortiz • 3 years ago
                                             There is seemingly no way to make you see that heresy has a very specific
                                             definition in the Church, so I won't attempt to explain it to you further.
                                                                                                                (/donate)
                                             Continue to ride your hobbyhorse in safety and comfort, amigo.
                                             △ ▽          R   l      Sh
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                   26/51

                                                                                                                CM0067
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                                             △ ▽ • Reply • Share ›

                                             Reuben Ortiz > JohnnyCuredents • 3 years ago • edited
                                             Heresy means nothing to me, because I do not live in that world. If you want
                                             to explain that world to me in understanding it, do so, but do not harp upon
                                             me as though I am promoting it. To call me "amigo" is far from the truth. You
                                             are the enemy who Jesus speaks about that I should love, and you try to
                                             reel me calling me "amigo", but you are like the devil, using heresy that is
                                             not part of this conversation. You have also accused me, so now I say to
                                             you, "Tell me how I am that "hobbyhorse in safety and comfort", or in the
                                             Name of the Most High Jesus Christ get thee behind me satan!" Viva Cristo
                                             Rey
                                             △ ▽ • Reply • Share ›

                                             JohnnyCuredents > Reuben Ortiz • 3 years ago
                                             Heresy means nothing to me.... QED
                                             △ ▽ • Reply • Share ›

                                             Reuben Ortiz > JohnnyCuredents • 3 years ago • edited
                                             When heresy is used today with reference to Christianity, it denotes the
                                             formal denial or doubt of a core doctrine of the Christian faith.

                                             How is "homosexuality" a core doctrine of the Christian faith?

                                             You know that if you try to explain homosexuality as a core doctrine of the
                                             teaching of Christ as Christian faith, you are a heretic!

                                             Jesus came for the sinner, but Jesus does not love the sinner who willfully
                                             sins, Jesus loves the sinner who willfully does not sin. Your faith has healed
                                             you, now go and sin no more! Viva Cristo Rey
                                             △ ▽ • Reply • Share ›

               Thomas A. Deplorable • 3 years ago
               Back in the 90's my wife & I attended mass at a Catholic Church in Sunappee NH. At the Homily
               the Priest blared this acid rock music with I forget what the lyrics were, that said the name God in
               it once in a while. The priest was claiming that this was the new religious music that the young
               people wanted. Bewildered, after Mass we heard from various people that this young Priest was a
               favorite of teenagers as he "frequently attended their parties". So its no surprise that there is
               outrageous goings on up Nord.
               3△       ▽ • Reply • Share ›

                         JohnnyCuredents > Thomas A. Deplorable • 3 years ago
                         There was indeed a great deal of liturgical and moral hanky panky under our two previous
                         bishops, especially under John Brendan McCormack, a protege and former lieutenant of
                         Bernie Law in Boston. There were rumors of a sodomite subculture in the diocese back
                         then and some scattered evidence of same (e.g. our former Vicar eventually (/donate)
                                                                                                        served time in
                         the slammer for stealing hundreds of thousands of dollars to underwrite his 'lifestyle' with
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                  27/51

                                                                                                                CM0068
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                         the toy boy he was involved with). But truth demands that we've seen nothing of this
                         during the time Bishop Libasci has presided here.
                         △ ▽ • Reply • Share ›

               James • 3 years ago
               You can't help but think that this individual's vindictive and unjust actions insure his ascendency in
               the Bergoglian cabal. They appear cut from the same cloth.
               2△       ▽ • Reply • Share ›

               RAD • 3 years ago
               Was Father Georges de Laire "educated" by the Jesuits?
               2△       ▽ • Reply • Share ›

                         salesgirl > RAD • 3 years ago
                         Nah he's not slick enough
                         1△      ▽ • Reply • Share ›

                         RAD > RAD • 3 years ago
                         A man I know, who told me that he was "educated" by the Jesuits,
                         also told me that, on the first day of his first "theology" class, the
                         Jesuit priest asked for a show of hands from all those who believed
                         that salvation came only through The Catholic Church. Then, he
                         told them that was a lot of B___S___. I think this was at a High School.
                         So much for sending your children to a "Catholic" school.
                         4△      ▽ • Reply • Share ›

               RAD • 3 years ago • edited
               I am thinking that Father Georges de Laire will soon be forced to
               chew on a lot of shoe leather, the sole of his foot in the mouth, to
               save the soul of his life in eternity.
               2△       ▽ • Reply • Share ›

                         SgtJUSMC > RAD • 3 years ago
                         One can only hope. There are many of us praying for the SBC.
                         1△      ▽ • Reply • Share ›

                         Reuben Ortiz > RAD • 3 years ago
                         "will soon be forced"? He is chewing on that piece of leather, with the blinders on, and a
                         whip hitting his back, just to give him a taste of what hell is like, if he doesn't repent! Viva
                         Cristo Rey
                         △ ▽ • Reply • Share ›

               Reuben Ortiz • 3 years ago • edited
               This is the reason why I say that you can't listen to anointed ones today. What shepherd  can be
                                                                                                    (/donate)
               trusted when they feign to be good? It is safer to deal with open sinners than those who feign to
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                                                                                                                CM0069
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               be good. The latter are like incarnate devils who attract men under the outward show of good,
               drawing them in, only to entice them to fall into grave sin. The Church is indeed His Mystical Body,
               and He glories in being Her Head. BUT, the members of His body must grow to the proper
               stature; otherwise His body would be deformed. So many of the members have not matured in
               due proportion, and are wounded and even festered.

               Now, the flock will be fed heresy, and how many of them will recognize it as such? Viva Cristo Rey
               1△       ▽ • Reply • Share ›

               Lazarus Gethsemane • 3 years ago
               Scratch a heretic cleric and a raging Sodomite bleeds. Every. Damn. Time.
               4△       ▽ • Reply • Share ›

                         ArthurMcGowan > Lazarus Gethsemane • 3 years ago
                         False. Many heretics are not sodomites, and many sodomites are not heretics. Why make
                         manifestly silly assertions?
                         1△      ▽ 1 • Reply • Share ›

                                   Lazarus Gethsemane > ArthurMcGowan • 3 years ago
                                   False. I never said ALL heretics - I said heretic CLERICS. Ergo - not all heretics are
                                   clerics - but all clerics ARE heretics - and thus far all of the clerics in this age ARE
                                   raging Sodomites.

                                   Now run along now you silly fool.
                                   △ ▽ • Reply • Share ›


                                   This comment was deleted.



                                             JohnnyCuredents > Guest • 3 years ago
                                             I don't know. "Every, Damn. Time" certainly seems to cover a vast chunk of
                                             real estate.
                                             △ ▽ • Reply • Share ›

                         Reuben Ortiz > Lazarus Gethsemane • 3 years ago • edited
                         Say your prayer for him, to get it over with, and then scratch him off, and make sure that
                         you earnestly pray, giving him to Jesus to mold him from birth, because scripture says,
                         Matthew 26:24 "The Son of man indeed goeth, as it is written of him: but woe to that man
                         by whom the Son of man shall be betrayed: it were better for him, if that man had not been
                         born. And Judas that betrayed him, answering, said: Is it I, Rabbi? He saith to him: Thou
                         hast said it."

                         You see, this anointed one to satan has to have a full rebirth, and only Jesus can give that
                         to him. Viva Cristo Rey
                         △ ▽ • Reply • Share ›
                                                                                                                (/donate)
               D. Johnson • 3 years ago
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                   29/51

                                                                                                                CM0070
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               Maybe this priest doesn't know what no salvation outside the Catholic Church
               really mans....namely that Jesus Christ founded the one, holy Catholic Church
               as the means of salvation for all. The Catholic Church is the way established
               by Christ....no other. God is still free to give graces to others but it is not known
               to whom or how often He gives these graces.
               4△       ▽ • Reply • Share ›

                         schlaflosig > D. Johnson • 3 years ago
                         "God is still free to give graces to others"
                         Yes, but those are graces to convert and join the Church, not to be saved outside of the
                         Church.
                         5△      ▽ • Reply • Share ›

                                   TobiasRaphael1 > schlaflosig • 3 years ago • edited
                                   He most certainly does, that is how people are brought into the Catholic Church. It
                                   is called God's particular providence.

                                   Gospel of Saint John ch 10 v.16 ; "And other sheep I have, that are not of this fold:
                                   them also I must bring, and they shall hear my voice, and there shall be one fold,
                                   and one shepherd." - Our Lord, Jesus Christ

                                   This is why God established the Catholic Church and sent the Apostles and
                                   disciples out to convert the world and to bring them into His Church... with His
                                   graces aiding them and those to whom they are preaching to. One only has to read
                                   the Acts of the Apostles to see this in action.
                                   1△      ▽ • Reply • Share ›


                                   This comment was deleted.



                                             JohnnyCuredents > Guest • 3 years ago
                                             And there is the fascinating true story of the conversion of Roy Schoeman,
                                             the author of Salvation is from the Jews. No one was further from the
                                             Church than Roy when Jesus and Mary intervened for reasons we are not
                                             privileged to know yet. Now all of us could hope to be a Catholic as
                                             knowledgeable and devout as Mr. Schoeman.
                                             3△      ▽ • Reply • Share ›

                                   ArthurMcGowan > schlaflosig • 3 years ago
                                   You are a Feeneyite absolutist, not a Catholic.
                                   1△      ▽ 2 • Reply • Share ›

                                   D. Johnson > schlaflosig • 3 years ago
                                   You have no way of knowing what graces God distributes to
                                   those souls who seek to please Him and are ignorant through                  (/donate)
                                   no fault of their and have not learned of the necessity of belonging
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                   30/51

                                                                                                                CM0071
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                                   to the Catholic Church, Do you really think that all who are
                                   not Catholic are damned to Hell ?
                                   △ ▽ 1 • Reply • Share ›

                                             schlaflosig > D. Johnson • 3 years ago • edited
                                             1. I do have a way: by listening to the Creeds, Dogmas and Doctors of the
                                             Holy Mother Church, the pillar and foundation of the truth.

                                             2. Alas, all those who die not Catholic, will end up in hell (Limbo of infants
                                             for unbaptized children).
                                             2△      ▽ • Reply • Share ›

                                             May the Porsche be with you > schlaflosig • 3 years ago
                                             Is Limbo a dogmatically defined state of existence or place? Or is it simply
                                             an opinion?
                                             △ ▽ • Reply • Share ›

                                             schlaflosig > May the Porsche be with you • 3 years ago • edited
                                             Both a place and a state, consistently taught by several Pontiffs and Doctors
                                             of the Church.
                                             △ ▽ 1 • Reply • Share ›

                                             ArthurMcGowan > schlaflosig • 3 years ago
                                             I hope that someday you will abandon absolutist Feeneyism, and become a
                                             Catholic.
                                             1△      ▽ 2 • Reply • Share ›

                                             PaulSchiller > ArthurMcGowan • 3 years ago
                                             I think she is correct to say that graces given to those outside the Church
                                             are for the purpose of bringing the soul into the one true Church. And that
                                             can't possible be wrong if we are to believe Christ's prayed to the Father
                                             that the "Church be One". The only place Christ would bring someone is into
                                             the One True Church.
                                             1△      ▽ • Reply • Share ›

                         Aliquantillus > D. Johnson • 3 years ago
                         I think it has nothing to do with that or with theological issues at all. What I make of it is
                         that this man simply wants to put himself in the spotlight where he will be seen by the ultra-
                         liberals in the Vatican, especially the Pope. And in this he may be right. Francis might
                         consider this man as an excellent candidate for a high office in Rome, or as a candidate
                         bishop.
                         △ ▽ • Reply • Share ›

                                   D. Johnson > Aliquantillus • 3 years ago
                                   That's pretty cynical and since I'm getting awfully cynical too, I            (/donate)
                                   must agree that is likely.
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                                                                                                                 CM0072
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                                            g                    y
                                   1△      ▽ • Reply • Share ›

               Jeffrey Quick • 3 years ago
               Apparently de Laire thinks that Feeneyism is still a thing (which, as Br. Andre Marie's letter makes
               clear, it isn't). This is shameful.
               △ ▽ • Reply • Share ›

                         photius > Jeffrey Quick • 3 years ago
                         What a load of c..p and hipocrate to boot. THis bishop should first and foremost be looking
                         at James Martin and next Francis before anything else what evil thse novus ordo are.
                         1△      ▽ • Reply • Share ›

               MizHarris • 3 years ago
               Prayers this Priest gets healed by God.
               1△       ▽ • Reply • Share ›

                         Lazarus Gethsemane > MizHarris • 3 years ago
                         Prayers this heretic gets chastised by God.
                         △ ▽ • Reply • Share ›

                                   MizHarris > Lazarus Gethsemane • 3 years ago
                                   He deserves a chance at Mercy/Warning/Correction first before a chastisement.
                                   △ ▽ • Reply • Share ›

                                             Lazarus Gethsemane > MizHarris • 3 years ago
                                             God's chastisement IS Mercy/Warning?and Correction.
                                             △ ▽ • Reply • Share ›

                                             MizHarris > Lazarus Gethsemane • 3 years ago
                                             I'm talking about this priest asking for mercy before our Lord does do
                                             something and its too late.
                                             1△      ▽ • Reply • Share ›

                                             Lazarus Gethsemane > MizHarris • 3 years ago
                                             Our Lord always does something just in time - never too late. And in this
                                             case - it will take "something" from Our Lord to shock these heretics out of
                                             their sins. And if that won;t do it - then they need to have "something" from
                                             Our Lord take them out permanently.
                                             △ ▽ • Reply • Share ›

                                             MizHarris > Lazarus Gethsemane • 3 years ago
                                             Very much so that's why I study private and public revelation. It will come.
                                             △ ▽ • Reply • Share ›
                                                                                                                (/donate)

               leev • 3 years ago
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                    32/51

                                                                                                                CM0073
                Case 1:21-cv-00131-JL                    Document 289-1                Filed 02/04/25   Page 34 of 39
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               leev 3 years ago
               "Extra Ecclesiam Nulla Salus" .... Boniface VIII was an important Pope, but far from the only one
               to proclaim this Dogma "from the Chair". A list of Popes and Catholic writers a mile long have
               been consistent on this matter, going back to Scripture itself. The matter is a binary, objective
               reality ... it's either true or false. I like to open discussions now with this Dogma to see exactly
               where folks stand, and to be certain that if they walk away, they will have encountered the kind of
               lingering Truth that disturbs them. If you pray The Creed sincerely at Mass and before every
               Rosary, then why would you not tell others every chance you get about your righteous Pride? ....
               This Priest is not "cracking down", he is cracking up!
               2△       ▽ • Reply • Share ›

               mrgees • 3 years ago
               I knew His Eminence Peter Libasci in person from his time on Long Island. He was a very good
               man loving the Church. I hope he still is. He is, however, a man of "not too strong arm". I hope it
               will change because these days a man needs to be tough, especially with the evil withing the
               Church.
               2△       ▽ • Reply • Share ›

                         PaulSchiller > mrgees • 3 years ago
                         We will know what we need to know if the Bishop reverses the outrage .. won't we ?
                         1△        ▽ • Reply • Share ›

                         JohnnyCuredents > mrgees • 3 years ago
                         I agree with your assessment of Bishop Libasci. I am a veteran of the "Boston scandals
                         war" that spread here to NH thanks to the appointment of now retired Bishop John
                         McCormack and thus very alert to any signs of irregularity at the chancery. To date, apart
                         from what we rea here about De Laire, I've seen nothing at all alarming in Manchester;
                         tout au contraire. However, Libasci does not strike me as a man comfortable with
                         confrontation and controversy, and I admit that may be a lamentable weakness inside the
                         Church these days.
                         1△        ▽ • Reply • Share ›


                         This comment was deleted.



                                    mrgees > Guest • 3 years ago
                                    Interesting and scary. I suspect the word coward has deeper meaning but every
                                    collapse starts from small cracks.
                                    1△     ▽ • Reply • Share ›

               Lans • 3 years ago
               I am happy to see this article.. I wondered what was going on when i read the order for faithful
               Catholics . Fr De Laire has never sat well with me . When my son was making his confirmation,
               he needed to meet with the pastor, Fr DeLaire, De Laire asked him how many kids at the high
               school were sexually active and drinking and doing drugs! I was quite upset, but my (/donate)
                                                                                                    son assured
               me he spoke with other boys who were asked the same question..
               1               R    l    Sh
https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                33/51

                                                                                                                CM0074
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               1△       ▽ • Reply • Share ›

                         PaulSchiller > Lans • 3 years ago
                         Trouble !!!
                         Doesn't pass the smell test !
                         △ ▽ • Reply • Share ›

                         JohnnyCuredents > Lans • 3 years ago • edited
                         What you write is a definite red flag. Since the Boston scandals we've learned to read
                         correctly the subliminal message sent by questions like this from a priest to an adolescent
                         boy. That along with the astounding real estate purchase detailed in this article suggest to
                         me a great deal about this particular priest. At the very least, we have to say that
                         suspicions concerning him are hardly misplaced.
                         △ ▽ • Reply • Share ›

                         hockeyCEO > Lans • 3 years ago
                         It could also be that Fr De Laire asked these questions to determine how many
                         confirmation candidates were leading an immoral life. As a pastor, it would be good
                         information to know just how poorly these students were taught the faith.
                         △ ▽ • Reply • Share ›

                                   PaulSchiller > hockeyCEO • 3 years ago
                                   It is distorted and has an agenda behind it ... I doubt that agenda is to save souls.
                                   Big red flag !!

                                   Does this priest preach chastity and purity from the pulpit ?
                                   Does he hear confessions regularly and constantly advocate for the faithful to use
                                   the confessional ?

                                   If he does, then he has all the information he needs to understand the moral state
                                   of his flock.

                                   Sounds like he was on a trolling mission to me ...
                                   △ ▽ • Reply • Share ›

                         Maria Gabriela Salvarrey Rodri > Lans • 3 years ago
                         Woah! This is not a good sign. I think your first instinct may not have been off. Their is no
                         reason for him to ask this in an interveiw that concerns confirmation.
                         3△      ▽ • Reply • Share ›

               MizHarris • 3 years ago
               Funny thing growing up in the Catholic Church even during the "Dysfunctional Years". I have
               heard it said no one aspires to be a Bishop or a Pope. Regardless of their ambitions. At least
               that's how I heard it. Strike me if I'm wrong. I always heard it many who truly have the faith,
               vocation and the call would rather aspire to the mere Priesthood as like the Cure of Ars and Padre
               Pio just to name a tiny few.                                                           (/donate)

               2△       ▽ • Reply • Share ›
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                                                                                                                CM0075
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                               Reply     Share ›


                         PaulSchiller > MizHarris • 3 years ago
                         New faithful priest I know want to serve a flock ! And they must suffer the heartache of
                         seeing their beloved Church soiled by corrupt and weak men.
                         1△      ▽ • Reply • Share ›

                                   MizHarris > PaulSchiller • 3 years ago
                                   Very much so. Keep in mind that suffering goes in favor in the "treasure chest"
                                   stored in Heaven.
                                   △ ▽ • Reply • Share ›

                         salesgirl > MizHarris • 3 years ago • edited
                         St John Neumann I think it was begged NOT to be bishop. But once it was inevitable he
                         worked even harder at being a good one. He died of a heart attack after mailing a chalice
                         to a poor rural priest, and was found to be wearing a chain that cut his flesh as a penance.
                         Today such a goodand godly priest wouldnt be promoted but drummed out of Seminary for
                         being "rigid". - Nora
                         1△      ▽ • Reply • Share ›

                                   MizHarris > salesgirl • 3 years ago
                                   Agreed. Good comment and thanks for the reminder.
                                   △ ▽ • Reply • Share ›

                         Maria Gabriela Salvarrey Rodri > MizHarris • 3 years ago
                         Socrates argued that he who desires power if usually unfitted for it and he who is fitted for
                         it normally does not desire it. You have been told this by very devout pple perhaps for this
                         reason. If you had surrounded yourself with the faithless powerhungry you would have
                         seen something else.
                         Socrates argued that to make things work one needed to convince those who did not want
                         power to accept it and keep those who desired it fervently well away from it.
                         3△      ▽ • Reply • Share ›

                                   MizHarris > Maria Gabriela Salvarrey Rodri • 3 years ago
                                   Thank you Maria for your wisdom. I heard this about Bishops I think before I left
                                   and became a lapsed Catholic. I'm not blaming the Church. I blame myself for not
                                   getting more educated in the faith. Subliminally before my Father died he was still
                                   keeping the faith up until he couldn't go any longer. His witness stuck with me so
                                   that helped as well. Its now that I think on it. I'm not up on Socrates but familiar. I
                                   take it that's where the Church gets it from to start with. Mother Angelica watching
                                   her brought me back and sealed the deal to the faith in or around the late 1990's. I
                                   think our Lord was calling the "troops" back into the faith more so during her,
                                   Mother Angelica's time on the tube. He most assuredly was working through her.
                                   As He was more than likely working through many in these times. I think many got
                                   the call. How many are serving do not know. God Bless.                   (/donate)
                                   1△      ▽ • Reply • Share ›
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                                                                                                                CM0076
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                                             Maria Gabriela Salvarrey Rodri > MizHarris • 3 years ago • edited
                                             God Bless you too and welcome back home. It gives me joy that you have
                                             found your way back home.
                                             1△      ▽ • Reply • Share ›

                                             MizHarris > Maria Gabriela Salvarrey Rodri • 3 years ago
                                             Late 1990's. I was in the Catholic School during the 1970's. That's when the
                                             "Dysfunctia" in the Schools started I believe. I hate to say it---loss of the
                                             Traditional nuns a big factor to. Looks like most have gone that way to.
                                             Hope they come back---praying for them to.
                                             1△      ▽ • Reply • Share ›

               Facebook User • 3 years ago
               On the lighter side---doesn't he look like Charles Grodin wearing hipster glasses?
               3△       ▽ • Reply • Share ›

                         Maria Gabriela Salvarrey Rodri > Facebook User • 3 years ago
                         What would we do without humour?
                         △ ▽ • Reply • Share ›

               Maggie • 3 years ago
               A nice living if you can get this kind of job and where you can act with impunity and a mansion on
               a waterfront to boot. Is there a boyfriend there too?
               3△       ▽ • Reply • Share ›

                         Maria Gabriela Salvarrey Rodri > Maggie • 3 years ago
                         If you look further down in the comments one person says his been asking boys preparing
                         for confirmation about how many boys in their school are sexually active, drinking and
                         doing drugs. Kind of suspicious?
                         1△      ▽ • Reply • Share ›

                                   PaulSchiller > Maria Gabriela Salvarrey Rodri • 3 years ago
                                   very suspicious
                                   1△      ▽ • Reply • Share ›

                                   saint michael > Maria Gabriela Salvarrey Rodri • 3 years ago
                                   what the heck.... I would be irate if my priest asked that to my innocent homeschool
                                   child... how evil
                                   1△      ▽ • Reply • Share ›

                                             Maria Gabriela Salvarrey Rodri > saint michael • 3 years ago
                                             What's more it's totally off subject if it was supposed to be a pre
                                             confirmation interview.                                           (/donate)
                                             1△      ▽ • Reply • Share ›
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                                                                                                                 CM0077
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                                             This comment was deleted.



                                             Maria Gabriela Salvarrey Rodri > Guest • 3 years ago
                                             I'd say it's time to change parrish.
                                             △ ▽ • Reply • Share ›

                                             PaulSchiller > Guest • 3 years ago
                                             sounds like Modernist church .. it started several decades ago
                                             △ ▽ • Reply • Share ›

                         Maria Gabriela Salvarrey Rodri > Maggie • 3 years ago
                         Interesting question!
                         1△      ▽ • Reply • Share ›

               Facebook User • 3 years ago
               WTF?! (What the frock) Why in the Name of God are these idiots allowed to continue on in their
               "job" when they are obviously unqualified to run a lemonade stand? The crazies that are
               running/ruining the church and the crazies that are running/ruining the country...truly it is nearing
               the end of Satan's reign.
               3△       ▽ • Reply • Share ›

                         Maria Gabriela Salvarrey Rodri > Facebook User • 3 years ago
                         "truly it is nearing the end of Satan's reign"
                         Let's hope so!
                         2△      ▽ • Reply • Share ›

               Richard C. Amo • 3 years ago • edited
               It all should be very simple. The issue of Fr. de Laire is a personal and personnel problem. The
               real problem is with Bishop Libasci which makes it a systematic, disciplinary, and a pastoral
               problem. Something certainly does not smell right here...as in many a diocese where the bishop
               seems incapable.
               5△       ▽ • Reply • Share ›

               Fred • 3 years ago
               If Bishop Libasci was really opposed to this move then all it would take would be one phone call
               from him. It looks like another dodge from a cleric to have someone else do the dirty work. If the
               group was becoming some kind of unruly sect or cult then okay, but we would need more
               information in that regard to register our opinions into the mind of the internet. Perhaps there
               should also be an investigation into the life of Fr. de Laire.

               It is not very difficult to see why more and more Catholics are starting orthodox organizations for
               faith, works and prayer, and are avoiding the use of the name 'Catholic' which the liberal clergy
               with all their abuses have so badly tarnished anyway.                                 (/donate)
               4△       ▽ • Reply • Share ›
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                                                                                                                CM0078
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                         PaulSchiller > Fred • 3 years ago
                         If the Bishop reverses the order then we will know where he stands .. and if he doesn't we
                         will know where he stands.

                         I hope he has the backbone to stand for truth and justice
                         △ ▽ • Reply • Share ›

                         Maria Gabriela Salvarrey Rodri > Fred • 3 years ago
                         If you want more info. you can get it on the groups own web page. They have posted a
                         public statement and some letters that have to do with the affair. I have followed them for
                         some time now reading the meditations and articles and they are as orthadox as one can
                         ever ask. They seem filled with peace. If you take time to read the comments you'll find
                         some speak of their work with glowing praise. They have a school. If you like look up their
                         page and see for yourself.
                         2△      ▽ • Reply • Share ›

               Tom Kaye • 3 years ago
               It sounds like Georges is the kind of person that you just ignore. Even Karl Keating could refute
               this guy.
               1△       ▽ • Reply • Share ›

                         Maria Gabriela Salvarrey Rodri > Tom Kaye • 3 years ago • edited
                         Yep! but for the Saint Benedict Centre he is impossible to ignore. They are now without
                         access to mass and sacraments thanks to his sanctions and have been slandered. There
                         was even a false report filed with the FBI that they were keeping one of the novices there
                         against her will but it was thrown out by the FBI as soon as they interviewed the supposed
                         victim without any problems and she assured she was there of her own free will.
                         This is all too crazy and undeserved.
                         4△      ▽ • Reply • Share ›

                                   PaulSchiller > Maria Gabriela Salvarrey Rodri • 3 years ago
                                   Really an outrage !
                                   1△      ▽ • Reply • Share ›

                                   Heather J > Maria Gabriela Salvarrey Rodri • 3 years ago
                                   Perhaps a law suit for slander and defamation of character would get the attention
                                   of the Bishop to do his job and truly investigate the Center and this Fr. de Laire
                                   while he's at it.
                                   12 △      ▽ • Reply • Share ›




                                                                                                                (/donate)


https://www.churchmilitant.com/news/article/vicar-of-manchester-changes-dogma-into-heresy                                   38/51

                                                                                                                CM0079
